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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------X   Docket No.:
CHRISTOPHER PAGAN, on behalf of himself                                        24-CV-104(VSB)
And all others similarly situated,
                                         Plaintiff,
            -against-                                                          PLAINTIFF’S MOTION
                                                                               FOR A DEFAULT
LUCCELLO, INC., d/b/a/ Itshot.com.,                                            JUDGMENT AGAINST
                                         Defendant.                            DEFENDANT LUCCELLO
---------------------------------------------------------------------------X

                                      PRELIMINARY STATEMENT


        On, January 5, 2024, Plaintiff (“Pagan” or “Plaintiff”), acting on behalf of himself, and all others

similarly situated, filed a Complaint against Defendant Luccello, Inc., d/b/a/ Itshot.com

(“Luccello, Inc.” or “Defendant”) (Docket No. 1, Ex. A) Thereafter, on January 23, 2024,

Plaintiff served Defendant with a summons and a copy of the Complaint and filed the Affidavit

of Service with the Court on February 13, 2024 (Docket No. 6, Ex. B). Under the Federal

Rules of Civil Procedure, Defendant was required to Answer or otherwise move by

February 13, 2024. However, Defendant has since failed to answer, or otherwise defend the

claims against him, under the deadlines established by the Federal Rules of Civil Procedure.

        Pursuant to Fed. R. Civ. P. 55(a) and Local Civil Rule 55.1, on March 5, 2024, Plaintiff made

an application to the Clerk of the Court for a Certificate of Default, which was issued that same day

(Docket No. 14, Ex. C). Plaintiff has satisfied the requirements of the relevant Civil and Local Rules

regarding default judgment, and as such, Plaintiff now respectfully requests this Court to enter a

default judgment against Defendant Luccello, Inc.

                                          STATEMENT OF FACTS

        Plaintiff, Christopher Pagan, a resident of Bronx County, New York, is a visually impaired

handicapped person and a member of the protected class of individuals under the ADA, pursuant to

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42 U.S.C. §§ 12102(1)-(2), and the regulations implementing the ADA, as set forth in 28 CFR §§

36.101 et seq., and NYCHRL. Plaintiff is unable to utilize a computer or device without the assistance

of screen reading software, such as the Nonvisual Desktop Access or “NVDA”

       Plaintiff filed the underlying civil action against Defendant for its failure to design, construct

and maintain their Website, https://www.itshot.com (the “Website” or “Defendant’s Website”), to

be fully accessible to and independently usable to Plaintiff and other blind or visually impaired

individuals. Defendant’s denial of full and equal access to the Website, and therefore, the denial of

the goods and services offered thereby, is a violation of Plaintiff’s rights under the Americans with

Disabilities Act (“ADA”).

                                            ARGUMENT
I.     THE COURT SHOULD GRANT A DEFAULT JUDGMENT AGAINST
       DEFENDANT

      A.      The Defaulting Defendant Was Properly Served but Failed to Answer or
              Otherwise Defend the Allegations in the Complaint.

       Plaintiff filed the Complaint in this action on January 5, 2024, asserting affirmative

claims for relief against the Defendant Luccello, Inc., d/b/a Itshot.com (Complaint, Docket No.

1, Ex. A). In accordance with Fed. R. Civ. P. 4, Plaintiff properly served a copy of the Complaint

and a summons on Defendant on January 23, 2024, and subsequently filed proof of service with

the Court on February 13, 2024. (Docket No. 6, Ex. B). The date of service on the Defendant,

and the date that Defendant’s answer was due, is set forth below:

                                                                                Proof of Service
                                 Date Served:          Date Answer Due:
                                                                               Filed at Docket No.:
       Defendant               January 23, 2024        February 13, 2024            Doc. No. 6
       Luccello, Inc.

       It is undisputed that Defendant was served with the subject complaint. This is confirmed by

the fact that on February 15, 2024, Defendant’s owner, Denis Stepansky, contacted Plaintiff’s law
                                                   2
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firm and demanded that Plaintiff voluntarily dismiss the subject lawsuit. Despite being served with a

copy of the complaint, Defendant has failed to file an answer or otherwise appear in this action.

         Thereafter, on March 5, 2020, pursuant to Local Civil Rule 55.1 and Fed. R. Civ. P. 55(a),

Plaintiff filed an application to the Clerk of the Court for a Certificate of Default against Defendant

Luccello. (Docket No. 12). The same day, the Clerk of the Court entered a Certificate of Default

against him. (Docket No. 14, Ex. C).

         It is clear that Defendant Luccello Inc. has no intention of defending itself in this action.

Accordingly, Plaintiff is now entitled to default judgment against Defendant pursuant to Fed. R.

Civ. P. 55 and Local Civil Rule 55.2, on the issue of liability.1

                                                    CONCLUSION

         For all of the foregoing reasons, pursuant to Fed. R. Civ. P. 55 and Local Civil Rule 55.2,

Plaintiff is entitled to a default judgment against Defendant. Plaintiff properly served Defendant

Luccello, Inc., but despite the time limits under the Federal Rules of Civil Procedure, Defendant has

never answered or otherwise appeared in this action. Accordingly, Plaintiff respectfully requests that

this Court grant his motion and enter a default judgment against Defendant Luccello, Inc. on the issue

of liability.

Dated: New York, New York
       March 6, 2024



                                                                  Respectfully Submitted,

                                                                  JON L. NORINSBERG, ESQ., PLLC

                                                                  _________________________
                                                                  Jon L. Norinsberg, Esq.
                                                                  Attorney for Plaintiff
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  At this time, Plaintiff only moves for a default judgment on the issue of liability. With respect to damages, Plaintiff
requests that this matter be set down for an inquest, either at the time of trial or at any other time that this Court deems
appropriate.
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on March 6, 2024, I electronically filed the foregoing document with the

Clerk of the Court using CM/ECF. I further certify that a copy of the foregoing was served, via

certified mail and regular U.S. Mail, on March 6, 2024, upon the Defendant at the following address:

Luccello, Inc, d/b/a Itshot.com
C/O Denis Stepansky
10 West 47th Street
New Yok, N.Y. 10036
                                                           ________________________
                                                             Jon L. Norinsberg, Esq.




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